                  IT IS HEREBY ORDERED THAT Samer Danfoura shall be
                  on phone standby beginning at 9:30 AM and await the Court's call.
                  Dated: 6/24/14
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